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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                     CRIMINAL ACTION


VERSUS                                                                       NO. 15-154


PRICE, ET AL.                                                                SECTION A(3)



                                         ORDER AND REASONS

       Defendant Evans Lewis moves the Court in limine to exclude evidence

concerning fistfights involving the Government’s cooperating witnesses (Franklin and

Stewart). (Rec. Doc. 725). Lewis contends that evidence of these fights is irrelevant

because the fights have nothing to do with him or any of the other defendants on trial.

       In its opposition the Government concedes that it has no evidence that Lewis or

any of his codefendants had any role in the inmate attacks, and it would be prepared to

either stipulate or have the Court give a limiting instruction to that effect. The

Government argues that the fights are relevant nonetheless because the Government

anticipates that Franklin and Stewart will establish that the attacks were motivated not

only by a general desire among inmates to punish individuals who cooperate with the

Government, but also by animosity between rival gang members — a motivation that

dovetails with the rival-gang retaliation theory that the Government suggests motivated

several of the murders in this case.

       The Court finds the Government’s arguments regarding relevance to be

persuasive. The exhibits from the jail, however, are excluded because they are not

necessary, cumulative of the witnesses’ testimony, or otherwise hearsay. But the

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Government will be allowed to elicit from Franklin and Stewart limited testimony

regarding the attacks.

          That said, the Government anticipates that Franklin and Stewart will establish

through their own testimony the attackers’ motivations. The Government is forewarned

that the Court will not allow Franklin and Stewart to speculate about what motivated

their attackers. Inmate attacks are hardly uncommon and fights among inmates may be

motivated by a variety of reasons that have nothing to do with a pending case. So if the

circumstances surrounding the attacks, including anything the attackers might have said

during the altercation or immediately preceding it, do not suggest a motivation relevant

to this case, then the Government will not be allowed to elicit testimony from Franklin

and Stewart (or any other cooperating witness) regarding any inmate attacks. In other

words, the Court is denying in part Lewis’s motion but only conditionally, in anticipation

of the Government being able to lay a proper foundation for admitting evidence of the

fights.

          Accordingly;

          IT IS ORDERED that the Motion in Limine to Exclude Evidence Concerning

Cooperating Witnesses’ Jailhouse Fistfights (Rec. Doc. 725) is GRANTED IN

PART AND DENIED IN PART as explained above.

          September 28, 2016




                                                          __________________________________
                                                                   JUDGE JAY C. ZAINEY
                                                              UNITED STATES DISTRICT JUDGE



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